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                                                                                    FORM 1
                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                 ASSET CASES
Case No:             12-09605                       MFH         Judge:        Marian F. Harrison                           Trustee Name:                      LARRY EDMONDSON
Case Name:           MARY A. GORDON                                                                                        Date Filed (f) or Converted (c):   10/19/2012 (f)
                                                                                                                           341(a) Meeting Date:               11/26/2012
For Period Ending:   07/31/2018                                                                                            Claims Bar Date:                   10/09/2013


                                  1                                          2                            3                             4                          5                             6

                         Asset Description                                 Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                    Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                           Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                     Exemptions,                                                                               Assets
                                                                                                   and Other Costs)

  1. PRIMARY RESIDENCE 3813 LEONA PASS HERMITAGE,                                 320,000.00                        0.00                                                       0.00                        FA
     TN
  2. TOWNHOME 3 BED/2 BATH/1150 SQ FT 1411 PHILLIPS ST                            125,000.00                        0.00               OA                                      0.00                        FA
     UNIT A NA
  3. TOWNHOME 3 BED/2 BATH/1150 SQ FT 1411 PHILLIPS                               125,000.00                        0.00               OA                                      0.00                        FA
     STREET UNIT B
  4. US BANK CHECKING ACCOUNT #XXXXXX3943 IN                                        3,000.00                        0.00                                                       0.00                        FA
     DEBTOR'S POSSESSION
  5. 3 TVS, 3 BEDS, 3 COUCHES, 3 DRESSERS, QUILTS,                                  1,875.00                        0.00                                                       0.00                        FA
     FAMILY COLLECT
  6. BOOKS, FAMILY PICTURES, NON-DESCRIPT ART IN                                        50.00                       0.00                                                       0.00                        FA
     DEBTOR'S POSSESS
  7. MISCELLANEOUS WOMEN'S CLOTHING, PURSES, HATS,                                     550.00                       0.00                                                       0.00                        FA
     COSTUME JEWELR
  8. ALLIANZ RETIREMENT ANNUITY IN DEBTOR'S                                        85,000.00                        0.00                                                       0.00                        FA
     POSSESSION
  9. "THE MARY ALICE GORDON 2012 IRREVOCABLE                                       Unknown                          0.00                                               125,000.00                          FA
     ANNUITY TRUST AND RE
 10. 2010 CADILLAC SRX VIN3GYFNAEY6AS588412 IN                                     27,000.00                        0.00                                                       0.00                        FA
     DEBTOR'S POSSESSIO
 11. Set aside conveyance property/ 1290 & 1294 Keeler Ct (u)                            0.00                       0.00                                               875,000.00                          FA
 12. Set aside conveyance property/AUTO ZONE PROPERTY (u)                                0.00                       0.00                                               721,709.26                          FA
 13. Equalizing Payment/Alimony (u)                                                      0.00                  10,000.00                                                       0.00                        FA
 14. Potential Malpractice Suite Against Joe Rusnak (u)                            Unknown                          0.00                                                       0.00                        FA
INT. Void (u)                                                                            0.00                       N/A                                                        0.00                        FA


                                                                                                                                                                            Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                              $687,475.00                  $10,000.00                                           $1,721,709.26                         $0.00
                                                                                                                                                                            (Total Dollar Amount in Column 6)



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Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

06/28/18 Tax returns have been filed. Looks as though all money will be returned. Second interim Distribution is being considered.

6/17/17 BAP Appeal returned. Sanction are virtually uncollectible against V. Gordon. We have garnished as much as we could before. This is a situation where we will expend
more time and energy than we will collect. Begin resolving final issues and move case towards closure. Amending 1099 and sending all financial documents to Mike Scarlett.
5/3/17 Awaiting V. Gordon BAP opinion. JC is following up on the status of BAP.
4/27/17 All tax info will go to accountant this week. Once we receive info back from accountant we will file TFR.
4/26/17 REceived settlement in adv. case 16-90058 for $50,000.00 from Marcus & Millichap. Will deposit today
4/26/17 Filed order 4/25/17 to hire Mike Scarlett as accountant. Mailed IRS extension and check to IRS for estimated taxes in the amount of $398,000.00 on
        4/20/17.
4/11/17 Motion has been filed to approve compromise and settlement. Objection period runs thru 4/21/17. They want to send the $50,000 by wire transfer.
4/4/17 Settlement reached with M & M and Attia ($50,000). JC and Mr. E working on tax issues

3/8/17 Received the settlement check from Justin Campbell for the Autohop property, $35,000.00

02/02/17 JC is preparing and filing a motion to approve compromise and settlement in that case. Justin Campbell hope to have that filed by the end of the week. We are still in
litigation with Marcus & Millichap and Adam Attia over their commissions from the sale of the AutoZone property.

07/29/16 trying to determine debtor's tax basis in property sold for long term gains obligation. If not determined by July 31, our application to pay full 20% along with application
to make 2nd interim distribution will be filed first week of August.
7/13/16 recovered $750,000 of proceeds received in Autozone sale. Contempt Order and sanctions against V Gordon Jr., recovered $90k from Virgil Gordon, Pretrial conf. held in
Ad pro Mediation before Nov. 7.

6/21/16 deposited a new cashier's check to replace cashier's check (deposit #4) that was made out incorrectly to the Trustee and returned by the bank. Documentation is in the
file.

06/02/16 J. Campbell is reviewing subpoenad bank docs of Virgil pursuing other 75K and sanctions from Virgil thru collections. Proceeding with Ad Pro-Draft pretrial statement at
middle of June and arranging for divorce money to come into the estate from Virgil Sr. property sale.

05/24/16 Cut check for Thompson Burton PLLC as ordered 5/6/16 docket entry 258
05/19/16- Deposited $53,000.00 cashier's check to replace the personal check that Virgil Gordon gave April 28 that was returned for NSF.

11/3/15 Case under appeal, no bond

8/6/15 Keeler property sold. Debtor's counsel filed motion to convert to ch.11.
6-27-17 Trust conveyance set aside and resulted in two properties coming back into estate. will correct assets accordingly by July 1. Auto Zone property sold and funds received
7-25-15. one remaining piece of real estate to sell.

6/8/15 Motion for Summary Judgment obtained in adv. pro. Keeler property to close June 12, 2015. Making sure all documents are ready for closing.


12-17-14 Obj to discharge pending, fraudulent conveyance lawsuit pending. two pieces of property in California should pay out 100% to creditors.

1/31/13--AP Filed; summons issued. Mailed out to Debtor and Rusnak on 2-7-13.

POST 341--BRING AP/OBJECT TO DISCHARGE.



RE PROP #              9   --   pending adversaries to object to discharge and set aside fraudulent conveyances. two
                                pieces of real property in california.
                                1/31/13--AP Filed; summons issued. Mailed out to Debtor and Attorney Rusnak on 2-7-
                                13.


Initial Projected Date of Final Report (TFR): 03/15/2017            Current Projected Date of Final Report (TFR): 01/01/2019




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Trustee Signature:   /s/ LARRY EDMONDSON       Date: 07/31/2018
                     LARRY EDMONDSON
                     800 Broadway, 3rd Floor
                     Nashville, TN 37203
                     (615) 254-3765




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